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         16                             UNITED STATES DISTRICT COURT
         17                            CENTRAL DISTRICT OF CALIFORNIA
         18                                       WESTERN DIVISION
         19
                   CHRISTY PALMER, VARTAN                     CASE NO. 2:17-CV-06848 DMG (PLAx)
         20        PIROUMIAN, EDWARD COX, and
                   JEAN-CLAUDE FRANCHITTI,                    REDACTED PUBLIC VERSION
         21
                                    Plaintiffs,               DEFENDANTS’ MEMORANDUM IN
         22                                                   OPPOSITION TO PLAINTIFFS’
                         v.                                   MOTION FOR CLASS
         23                                                   CERTIFICATION
                   COGNIZANT TECHNOLOGY
         24        SOLUTIONS CORPORATION and                  Hearing:
                   COGNIZANT TECHNOLOGY                       Date:       July 22, 2022
         25        SOLUTIONS U.S. CORPORATION,                Time:       10:00 a.m.
                                                              Place:      Courtroom 8C
         26                         Defendants.               Judge:      Hon. Dolly M. Gee
         27
         28

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           1     I.      INTRODUCTION AND SUMMARY OF ARGUMENT
           2             In their bid to certify a class, Plaintiffs simply ignore that hiring and terminations
           3     decisions at Cognizant are decentralized, highly subjective, individualized processes that
           4     rely on the discretion of thousands of decisionmakers (including clients). Because
           5     Plaintiffs are seeking to sue about a number of “employment decisions at once,” they
           6     must establish “some glue holding the alleged reasons for all those decisions together.”
           7     Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 352 (2011). There is no “glue” here.
           8     There is not and never has been a common mode of decisionmaking or directive that
           9     visa holders be favored at Cognizant—a fact that precludes class certification as a matter
         10      of law.
         11              Instead of “glue,” Plaintiffs offer inadmissible evidence (blatantly flouting Olean
         12      Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC, 31 F.4th 651, 664 (9th Cir.
         13      2022) (en banc)), mischaracterize facts, advance a mish-mash of legal concepts, and
         14      present a largely meaningless and very flawed statistical analysis. The alleged “policies”
         15      that Plaintiffs cling to also do not offer the requisite “glue” because Cognizant does not
         16      have any “policy” to hire visa holders and replace U.S. workers. Even if such a policy
         17      existed, it would be inapplicable (even under Plaintiffs’ theory) to large swaths of the
         18      proposed class, raising further individualized questions. Their abject failure of proof
         19      leads to Plaintiffs’ final gambit—an attempted end-run around Rule 23’s requirements
         20      through reliance on issue certification under Rule 23(c)(4) using the Teamsters
         21      framework. But there is no viable path to certification consistent with due process.
         22              The putative hiring class is a sprawling, unwieldy, and altogether disparate class
         23      of approximately 169,000 applicants. Brian Cox is the only Plaintiff who brings a hiring
         24      claim (on behalf of his late father) and is the only Plaintiff who can pursue a visa-related
         25      theory. But Ed Cox did not suffer any injury related to this claim, let alone one that is
         26      typical of the would-be hiring class. That proposed class is defined to include “all
         27      individuals who are not of South Asian race or Indian national origin and who applied
         28      to a Cognizant Class Band position in the U.S. [from September 18, 2013 onward] and

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           1     were not offered a position.” Mot. at iii. Ed Cox was, in fact, offered a position and
           2     hired by Cognizant in 2014. And the basis for his 2018 failure to rehire claim involves
           3     a position which never materialized and for which nobody was hired. Even if Plaintiffs
           4     could overcome all of that, the sheer size of the class, the absence of any corporate policy
           5     or directive, and the broad discretion exercised by thousands of people in hiring
           6     decisions defeats certification.
           7            Plaintiffs’ proposed terminations class and subclass fare no better. The proposed
           8     terminations class is composed of “all individuals who are not of South Asian race or
           9     Indian national origin and who were terminated while employed within a Cognizant
         10      Class Band . . .” and the bench subclass of those “who were terminated from the bench
         11      while employed within a Cognizant Class Band.” Id. There are multiple, highly
         12      individualized reasons why employees might be terminated from Cognizant, including
         13      decisions made by the employees themselves, thus making class treatment inappropriate.
         14             When all is said and done, Plaintiffs have not provided any “glue” that could
         15      supply a “common answer” to the essential question “why was I disfavored.” Dukes, 564
         16      U.S. at 352. Class certification should be denied.
         17      II.    FACTUAL BACKGROUND
         18             A.    Overview Of Cognizant’s Business Model
         19             Headquartered in the U.S., Cognizant is a global leader in the provision of
         20      information technology and consulting services. Cognizant has clients in every major
         21      industry, including banking and financial services, healthcare, insurance, manufacturing
         22      and logistics, retail and hospitality, and communications (referred to at Cognizant as
         23      verticals) as well as a host of lines of service focused on particular technologies or
         24      processes (referred to as horizontals).    Dec. of K. Smith (“Smith Dec.”) Ex. 8, ¶ 3.
         25      Cognizant employs more than 40,000 individuals in the U.S., and is an equal opportunity
         26      employer that values diversity and does not tolerate discrimination. Id. ¶¶ 3-4; Smith
         27      Dec. ¶ 47, Ex. 44. Like any employer with thousands of employees, Cognizant seeks to
         28      ensure that its policies and employment actions comply with the law. Id. ¶ 4.

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           1            Cognizant’s U.S. workforce includes individuals who move from client project to
           2     client project as demand requires, i.e. project-based employees, as well as those who do
           3     not, i.e. those in corporate departments like Human Resources and in other capacities,
           4     like sales. Smith Dec. Ex. 8, ¶ 7. Cognizant has 17 commonly used job bands from
           5     “intern” to “CEO,” but even within the same band, there is enormous variation in job
           6     duties and expectations. Id. ¶ 6.
           7            B.     Cognizant’s Project-Based Model Requires Specialized Talent
           8            Because of the variety and scale of the highly technical projects Cognizant takes
           9     on, the Company requires a nimble workforce with a wide variety of skills. Smith Dec.
         10      Ex. 6, ¶ 4. Employees have expertise in different industries and technologies, develop
         11      different skill sets, are at differing job levels, and are billed at different rates. Id. Clients
         12      may also impose additional specifications for projects and typically have input into the
         13      hiring process, for example, by interviewing candidates and providing feedback. Id.;
         14      Smith Dec. Ex. 4, ¶ 9; Schanta Dec. ¶ 8. During the Class Period, employees in Class
         15      Bands serviced          different clients. Smith Dec. Ex. 1, ¶ 26 & fn. 51.
         16             Project-based employees who roll off projects will either move directly to a new
         17      project or go to the corporate or practice group deployable pools, colloquially known as
         18      the bench. Smith Dec. Ex. 6, ¶ 5. During the Class Period, only 31% of employees in
         19      the Class Bands were placed on the bench. Smith Dec. Ex. 1, ¶ 40 & fn. 54.
         20             For any project, the Company’s strong preference is to staff existing Cognizant
         21      employees in the U.S. Smith Dec. Ex. 6, ¶ 14. Cognizant has every incentive to ensure
         22      that individuals on the bench, who continue to receive their full salaries, are staffed as
         23      quickly as possible to new projects. Id. This is both efficient and economically sound.
         24      Id. However, in some instances there may not be an employee with the right technical
         25      skillset and/or experience on the bench. In those cases, the position will be flagged for
         26      external U.S. local hiring. When a position is flagged, Cognizant’s Talent Acquisition
         27      Group (“TAG”), which handles external hiring, will try to fill the position. Id. ¶ 15. In
         28      tandem with the external hiring process, Cognizant continues to look for candidates who

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           1     may become available on its U.S. bench and also turns to its existing employees outside
           2     the U.S. who already hold visas and who may already be working for the client or in the
           3     same service line. Depending on client demand, visa holders with a particular skillset
           4     may be sought to supplement a shortage of that skillset in the United States. Id. ¶ 16.
           5           C.     Internal Project Staffing Depends On Inputs From Multiple Sources
           6           The process of securing a new project is always collaborative, often ad hoc, and
           7     reflects a large measure of discretion by managers, account teams, clients, and
           8     employees themselves. Smith Dec. Ex. 6, ¶ 6; Lindberg Dec. ¶ 5; Schanta Dec. ¶ 8;
           9     Copeland Dec. ¶¶ 3, 4; Arce Dec. ¶ 4. Sometimes individuals are staffed informally
         10      through word of mouth and internal recommendations, e.g., Smith Dec. Ex. 14 at 43:18-
         11      23, 45:16-22, 49:15-50:3, while others might go through a more formal process
         12      supported by Talent Supply Chain (“TSC”), a department that primarily assists with
         13      allocation of U.S. talent to billable roles on client projects, Smith Dec. Ex. 6, ¶ 6.
         14
         15
         16
         17
         18                   Smith Dec. Ex. 6, ¶ 6.
         19                            Smith Dec. Ex. 4, ¶ 5.
         20
         21
         22      Smith Dec. Ex. 13 at 44:2-11; 129:22-130:10; id. Ex. 15 at 245: 2-25, 281:6-18 (average
         23      account interviewing team was 6-8 people); Arce Dec. ¶ 4; Copeland Dec. ¶ 4.
         24                                                              Smith Dec. Ex. 6, ¶ 9; Ex. 15 at
         25      161:2-12.
         26
         27
         28              Dkt. 262-12. Sometimes an employee may “gracefully exit” a project after

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           1     seeking out a position with another business unit, as Piroumian did with              Smith
           2     Dec. Ex. 15 at 147:6–157:17, Ex. 18, 19.          Sometimes relocation is not feasible.
           3     Moorman Dec. ¶ 9; Benham Dec. ¶ 4; Copeland Dec. ¶ 7. Client requirements or
           4     preferences may affect placements. Smith Dec. Ex. 6, ¶ 9; Ex. 4, ¶ 9; Schanta Dec. ¶ 8;
           5     Copeland Dec. ¶ 8. And budget constraints or shifting priorities may result in a role or
           6     entire project being postponed or cancelled. Smith Dec. Ex. 6, ¶ 9; Ex. 15 at 96:10-14.
           7           D.     External Hiring Is Decentralized And Individualized
           8           If Cognizant is unable to staff an existing internal candidate to a project, it pursues
           9     other alternatives, including external hiring.
         10
         11                                                                            Smith Dec. Ex. 5, ¶¶
         12      3-4. Within the Class Period, Cognizant made                 relevant offers in the United
         13      States. Smith Dec. Ex. 1, ¶ 96.
         14            There is no single channel through which resumes and applications come into
         15      TAG. Smith Dec. Ex. 8, ¶ 10.
         16
         17
         18
         19                     Id. at ¶ 19.
         20            After recruiters source candidates and cull resumes to ensure they meet the basic
         21      requirements for a given position, they send a narrower set of resumes to the hiring
         22      managers for that position. Typically, an applicant will be interviewed by multiple
         23      individuals at Cognizant, and for project-based positions, will also often be interviewed
         24      by the client. Smith Dec. Ex. 15 at 34:10-12 (Piroumian: 3 interviews); Ex. 9 at 44:4–
         25      45:8 (Franchitti: same); Ex. 8, ¶ 14.        After all interviews and feedback, a final
         26      determination is made, and the business team informs the recruiter. Id.
         27            The external hiring process involves multiple stakeholders, inside and outside of
         28      Cognizant. Smith Dec. Ex. 8, ¶ 14; Smith Dec. Ex. 9 at 86:23–90:23. That includes

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           1     both the late Ed Cox and Plaintiff Franchitti, both of whom appear to have been involved
           2     in sourcing and evaluating external candidates. Smith Dec. Ex. 9 at 86:20-89:20, 91:23-
           3     96:9; Ex. 32-35. There is no final decisionmaker who reviews or approves all hires.
           4     Smith Dec. Ex. 8, ¶ 14. There is also no policy instructing recruiters, interviewers, or
           5     anyone else, to prefer or prioritize visa holders or South Asian candidates. Id.
           6           E.      Cognizant Uses Visas To Supplement Its Workforce
           7           The well-documented, intense competition for IT talent in the U.S., along with
           8     the short- and long-term relocation requirements that are a staple of many Cognizant
           9     projects, means that Cognizant struggles to find U.S. workers to fill all of its hiring
         10      needs.1 Smith Dec. Ex. 8, ¶¶ 16, 25, 26. For positions at Cognizant that can be filled
         11      by visa holders (many are simply closed to them for a variety of reasons), Cognizant
         12      primarily uses H-1B visas and L visas. Id. ¶¶ 16, 18. L1 visas are permitted only for
         13      intracompany transfers. Id. ¶ 17. The U.S. Government requires L visa applicants to
         14      have worked for Cognizant for one year, but Cognizant requires more. Id. Moreover,
         15      when Cognizant applies for a new H-1B visa, it almost always requires that the proposed
         16      visa holder be an employee of a Cognizant affiliate overseas. Id. Since most of
         17      Cognizant’s overseas workforce is in India, most of Cognizant’s visa-holding workforce
         18      is from India too. Id.
         19
         20
         21                                                            Smith Dec. Ex. 12 at 21:17–22:13,
         22      27:3–28:23.
         23
         24           Id. at 27:1-13.
         25
         26
         27      1
                   Cognizant has invested more than $100 million in STEM education and training
                 programs, including starting a foundation aimed at addressing the skills gap in the United
         28      States. Smith Dec. Ex. 8, ¶ 26.
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           1
           2                                                                         Smith Dec. Ex. 4, ¶ 6.
           3
           4                                                                                      Id.
           5                                                                                            Id.
           6           Once a Cognizant overseas employee has a valid and stamped visa, they can travel
           7     to the United States to work. At that point, either the individual will fill the position for
           8     which the application was submitted, or if the position has changed, Cognizant will file
           9     an amendment, as permitted by the U.S. government, Smith Dec. Ex. 12 at 56:1-8. In
         10      some circumstances, the visa holder may not travel at all. Id.
         11            F.      Plaintiffs Misunderstand Cognizant’s Hiring Model
         12            At its core, Plaintiffs’ claim concerning Cognizant’s alleged “visa readiness”
         13      policy is not really about discrimination—it is a complaint that Cognizant applies for
         14      and receives visas. And Plaintiffs’ characterization of other “policies” that purportedly
         15      support a “pattern or practice” of discrimination are equally off base.
         16                                                         Plaintiffs claim, citing their Exhibit 50,
         17      that “[t]o ensure timely utilization of ‘travel ready’ resources,
         18
         19                                                       Mot. 9. But no witness has ever endorsed
         20      that interpretation—nor could they.
         21
         22
         23                 Smith Dec. Ex. 30.
         24
         25
         26
         27                            Smith Dec. Ex. 37 at 92:25-94:9.
         28                                                                                         E.g., Dkt.

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           1     262-59 at 13 (
           2                                                       ; Dkt. 262-47 at 91
           3
           4                 In addition, the testimony Plaintiffs adduced from Cognizant’s witnesses
           5     explained the various ways staffing decisions are made—
           6                   Smith Dec. Ex. 13 at 43:13–46:8, 11:11–13:18; Ex. 24 at 23:9–26:15; Ex.
           7     26 at 50:21–51:16.
           8                                                      Plaintiffs identify two alleged practices
           9     they claim favored visa holders:
         10
         11
         12
         13                                                         Smith Dec. Ex. 6, ¶ 19 ref. Dkt. 262-
         14      12; Ex. 4, ¶ 10; Dkt. 262-67, at 53–56.
         15                                                       Smith Dec. Ex. 24 at 44:8–46:7.
         16            The Alleged 3x3 and Rotation Policy. There is no classwide evidence of a
         17      “rotation policy” or “3x3 BU policy” designed to replace U.S. workers with visa holders,
         18      either. Smith Dec. Ex. 6, ¶ 18; Ex. 26 at 27:2-7. Cognizant’s 30(b)(6) witness, the only
         19      witness Plaintiffs asked about these policies, had “never seen” them and was “not
         20      familiar with [them] ever being implemented.” Id. Ex. 26 at 69:6–75:7, 87:12–89:19;
         21      Dkt. 262-62, 262-65; see also Smith Dec. Ex. 3.          Moreover, Plaintiffs’ claimed
         22      “replacement policy” makes no logical sense nor is it borne out in the data. If Cognizant
         23      intended to replace U.S. workers with visa holders, one would see Cognizant’s overall
         24      numbers of South-Asians and visa holders grow over time. Instead, they decline. Smith
         25      Dec. Ex. 1, ¶ 150.
         26
         27                                                                          Id. Ex. 26 at 10:1-6,
         28      26:7-19.

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           1           Opportunity Masking. Plaintiffs incorrectly claim “Cognizant’s electronic
           2     systems were designed to mask job availability to benched U.S. resources.” Mot. 12.
           3
           4                                                          Smith Dec. Ex. 6, ¶ 6.2 That is the
           5     opposite of classwide masking.
           6
           7
           8                             Smith Dec. Ex. 26 at 23:14-24:11.
           9
         10                      Id. at 23:14-15; 50:11-51:19.
         11            G.     Cognizant’s Separation Practices Are Highly Individualized
         12            Employees leave Cognizant for every possible reason. Some resign to pursue
         13      other opportunities. Others leave for personal reasons. Some are terminated for poor
         14      performance, insubordination, misconduct, job abandonment, and the like. Smith Dec.
         15      Ex. 8, ¶¶ 20-21; Copeland Dec. ¶ 6. Not every Cognizant employee is eligible for the
         16      bench, and terminations of employees who are not on the bench can follow a variety of
         17      paths. Smith Dec. Ex. 8, ¶¶ 20-21; Ex. 6, ¶ 19 ref. Dkt. 262-12.
         18            Even among bench terminations, there is variability and discretion. Smith Dec.
         19      Ex. 8, ¶ 23. Employees subject to the five-week bench reallocation timeline might be
         20      terminated if they are still unallocated after five weeks. But exceptions abound.
         21
         22
         23                                                                                    Smith Dec.
         24
                 2
                    Plaintiffs also assert that “so few positions were moved” from the ESA system to
         25      Talent Marketplace that “benched U.S. resources submitted applications via Cognizant’s
                 external application process (where they had more success).” Mot. 12–13. According
         26      to Plaintiffs, Cognizant’s external hiring data, in a system called Taleo, reflects that
                 “Cognizant’s benched employees [] account for 70% of hires.” Id. But this theory is
         27      just wrong, and hinges on an incorrect assumption made by Plaintiffs’ expert about a
                 single field in Taleo, which is used only for external recruiting (and thus would not show
         28      “hires” by supposed benched employees). Smith Dec. Ex. 8, ¶¶ 12-13; Ex. 1, ¶ 115.
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           1     Ex. 6, ¶¶ 11-12.
           2                                                               Id. ¶ 13.
           3           Moreover, there is extensive variation in why an employee may terminate while
           4     on the bench, including declining opportunities (whether for location reasons or
           5     otherwise), lacking the specific skills required for open positions, or being unavailable
           6     for interviews. Smith Dec. Ex. 25; Dkt. 262-2, ¶ 23. Piroumian and the late Ed Cox’s
           7     own experiences illustrate the individualized nature of terminations from the bench.
           8     Piroumian was often on the bench in between projects and was plagued by performance
           9     issues, including many flagged by clients. E.g., Smith Dec. Ex. 15 at 219:25–220:4
         10      (“briefly dozed off” during a client meeting); Ex. 20 (email stating “It was not fun to be
         11      in [the client’s] office today and listening to his assessment of . . . Vartan [Piroumian’s]
         12      . . . skills”); Ex. 21. Yet, he found another project each time. In mid-2017, however,
         13      unbeknownst to Cognizant, Piroumian decided to pursue this lawsuit. And just weeks
         14      after stating his intention to do so in a private email, he failed to find another project
         15      and was terminated. Smith Dec. Ex. 27. Given his past success in getting allocated, his
         16      email raises questions about his motivation (or lack thereof) to find a new position.
         17            Ed Cox began with Cognizant in January 2014 in a Director-level non-billable
         18      position as the technical-sales and subject-matter expert for Enterprise customers. Smith
         19      Dec. Ex. 7, ¶ 4.
         20
         21
         22                              Id. ¶¶ 5-6. This timeline was extended to seven weeks, and he
         23      continued to interview. Id. ¶ 6. Ultimately, he was unable to secure a role and was let
         24      go on April 3, 2017 after ten weeks on the bench. Id.
         25      III. THE LEGAL STANDARDS GOVERNING THIS MOTION
         26            “The class action is ‘an exception to the usual rule that litigation is conducted by
         27      and on behalf of the individual named parties only.’” Comcast Corp. v. Behrend, 569
         28      U.S. 27, 33 (2013) (citation omitted). “Rule [23] imposes stringent requirements for

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           1     certification that in practice exclude most claims.” Am. Exp. Co. v. Italian Colors Rest.,
           2     570 U.S. 228, 234 (2013). “[A] court’s class-certification analysis must be ‘rigorous’
           3     and may ‘entail some overlap with the merits of the plaintiff’s underlying claim[.]’”
           4     Amgen Inc. v. Conn. Ret. Plans & Trust Funds, 568 U.S. 455, 465–66 (2013) (quoting
           5     Dukes, 564 U.S. at 351). To certify a class, Plaintiffs must prove that there “‘are in fact
           6     sufficiently numerous parties, common questions of law or fact,’ typicality of claims or
           7     defenses, and adequacy of representation, as required by Rule 23(a).” Comcast, 569
           8     U.S. at 33 (quoting Dukes, 564 U.S. at 350). In addition, Plaintiffs must “satisfy through
           9     evidentiary proof” at least one of the three subsections of Rule 23(b). Id.
         10             Earlier this year, the Ninth Circuit, sitting en banc, held unequivocally that
         11      plaintiffs must establish the elements of Rule 23 with admissible evidence. Olean, 31
         12      F.4th at 665. Plaintiffs, however, fail to cite Olean, much less follow its holding—no
         13      doubt because their filing is supported by rank hearsay, documents that have not been
         14      authenticated, and attorney speculation about the role, meaning, or purpose of
         15      documents. See Separate Statement of Evidentiary Objections (“Obj.”), Dkt. 270.
         16      IV.    PLAINTIFFS DO NOT COME CLOSE TO SATISFYING RULE 23
         17             A.    Plaintiffs’ Proposed Classes Fail To Meet Rule 23(a)’s Requirements
         18                   1.     Plaintiffs’ Disparate Treatment Claim Presents No Common
         19                          Questions
         20             Absent proof that the “entire class was subject to the same allegedly
         21      discriminatory practice, there is no question common to the class.” Ellis v. Costco
         22      Wholesale Corp., 657 F.3d 970, 983 (9th Cir. 2011). To satisfy this standard here,
         23      Plaintiffs must show that thousands of decisionmakers acted under a common policy of
         24      discriminatory decisionmaking. Plaintiffs have not carried their burden. Cognizant’s
         25      practices relating to external hiring and termination are ultimately decentralized and
         26      discretionary, relying on the determinations of thousands of individuals (including many
         27      of the more than          clients serviced during the Class Period)—and thus defeat
         28      commonality under either any theory.

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           1           For disparate treatment claims, “proof of discriminatory motive is critical.” Int’l
           2     Bhd. of Teamsters v. United States, 431 U.S. 324, 335 n.15 (1977).             To show
           3     commonality with respect to their disparate treatment claim “post-Dukes, the crux of the
           4     commonality inquiry for a system of discretion lies in whether lower-level supervisors
           5     operate under ‘a common mode of exercising discretion’—put differently, whether some
           6     company-wide policy provides sufficient ‘common direction’ such that individual
           7     exercises of discretion nonetheless produce a common answer to the question ‘why was
           8     I disfavored.’” Moussouris v. Microsoft Corp., 2018 WL 3328418, at *16 (W.D. Wash.
           9     June 25, 2018), aff’d, 799 F. App’x 459 (9th Cir. 2019) (quoting Dukes, 564 U.S. at 352,
         10      356). Plaintiffs fail to establish that any “policies and procedures constrain discretion
         11      or follow a ‘common direction’ from [Cognizant’s] management.” Handloser v. HCL
         12      Techs. Ltd., 2021 WL 879802, at *8 (N.D. Cal. Mar. 9, 2021). And they offer no
         13      evidence at all that anyone, much less everyone, exercised their discretionary authority
         14      in a discriminatory manner. Cf. Bolden v. Walsh Const. Co., 688 F.3d 893, 896 (7th Cir.
         15      2012) (no common question “when multiple managers exercise independent
         16      discretion”). “It is quite unbelievable that all managers would exercise their discretion
         17      in a common way without some common direction.” Dukes, 564 U.S. at 356. There is
         18      no evidence of that direction here.
         19                   a.    Plaintiffs’ 169,000-Person Hiring Class Lacks The “Glue”
         20                         Necessary To Prove Commonality
         21            “[W]here plaintiffs challenge a companywide employment system that empowers
         22      hiring managers with discretion to make hiring decisions, plaintiffs must identify ‘a
         23      common mode of exercising discretion that pervades the entire company.’” Handloser,
         24      2021 WL 879802, at *8 (quoting Dukes, 564 U.S. at 356). Plaintiffs here make
         25      “essentially no effort to establish that Defendants’ employment policies and procedures
         26      constrain discretion or follow a ‘common directive’ from [Defendants’] management.”
         27      Id. Nor can they as Cognizant’s hiring process “empowers a large number of recruiters,
         28      HR personnel, and delivery teams with significant discretion to make employment

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           1     decisions.”   Id.; see Tabor v. Hilti, Inc., 703 F.3d 1206, 1229 (10th Cir. 2013)
           2     (“After [Dukes], federal courts reviewing class certification questions have generally
           3     denied certification when allegedly discriminatory policies are highly discretionary . . .
           4     .”). Cognizant’s recruiters, HR personnel, hiring managers, and delivery teams—
           5                                                          over the Class Period—all exercise
           6     such discretion. Smith Dec. Ex. 5, ¶¶ 3-5, see supra § II.D; Handloser, 2021 WL
           7     879802, at *7 (use of 1,800 hiring managers factored against commonality despite
           8     allegations that HCL’s policy and alleged culture fit interviews favored visa holders).
           9           This already discretionary process becomes even more individualized when one
         10      considers that particular hiring processes differ significantly by job level and role.
         11      Project-based roles often include a client interview and involve client feedback and
         12      discretion; non-project based roles do not. See supra § II.C. And depending upon the
         13      skillset sought, there could be a technical interview or other test offered. Dangerfield
         14      Dec. ¶ 5. Such differences further undermine commonality. Handloser, 2021 WL
         15      879802, at *8 (“Members of the putative class will therefore have undergone
         16      dramatically different hiring procedures depending on which job they applied for . . . .”).
         17            Plaintiffs’ counsel has tried (and failed) twice before to certify a hiring class on
         18      the same pattern-or-practice theory of alleged prioritization of visa-holding Indian
         19      nationals for U.S. jobs. See Handloser, 2021 WL 879802, at *3; Buchanan v. Tata
         20      Consultancy Servs., Ltd., 2017 WL 6611653, at *20 (N.D. Cal. Dec. 27, 2017). In both
         21      cases, the courts found insufficient “glue” to hold these classes of tens or hundreds of
         22      thousands together. Handloser, 2021 WL 879802, at *8 (even “if the class were only
         23      43,000 individuals, each of these class members represents an individual employment
         24      decision that necessarily involved different factual circumstances and decision-making
         25      by local hiring managers”); Buchanan, 2017 WL 6611653, at *20 (no certification for
         26      hiring class that could exceed 250,000). Plaintiffs abandoned a hiring class altogether
         27      in a third case, Phillips v. Wipro, explicitly noting the prior two losses on the same
         28      theory. Case No. 4:18-cv-00821 (S.D. Tex.), ECF No. 173 at 15-16. The hiring class

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           1     here suffers the same lack of “glue” and should meet the same end.
           2                        (i)    So-called “policies” are untethered to the proposed class
           3           First, Plaintiffs’ core theory—that Cognizant prefers to hire visa holders—cannot
           4     prove a disparate treatment Title VII claim on a classwide basis as a matter of law. 3 To
           5     prove such a claim, Plaintiffs must show that a class of individuals was disfavored based
           6     on a protected class—for example, race or national origin. 42 U.S.C. § 2000e–2(a)(1).
           7     But Plaintiffs’ theory divides both groups: if true, Plaintiffs’ theory would mean that
           8     Cognizant prioritizes visa holders over South Asians who are U.S. citizens or permanent
           9     residents. Smith Dec. Ex. 36 at 100:10-19. Put another way, Plaintiffs’ theory is
         10      tantamount to saying that sometimes Cognizant discriminates in favor of some (but not
         11      other) South Asians based on a characteristic unrelated to their race (visa status). Such
         12      a theory cannot support any race or national origin disparate treatment claim.
         13            Second, Plaintiffs must prove that the policy caused the class a common harm.
         14      See Dukes, 564 U.S. at 354–55 (explaining that plaintiffs’ expert’s testimony did nothing
         15      to advance their theory because the expert could not say whether “0.5 percent or 95
         16      percent of the employment decisions at Wal–Mart might be determined by stereotyped
         17      thinking”—the purportedly common policy). Here, Plaintiffs have failed to show that
         18      any of the policies they allege even exist (supra § II.F), but even if such policies did
         19      exist, whether or to what extent individuals made employment decisions based on the
         20      alleged “policies” cannot be determined on a classwide basis.
         21            Third, for some class members, “Defendant’s challenged hiring practices could
         22      not have been the cause of the candidate’s adverse employment decision” at all.
         23      Handloser, 2021 WL 879802, at *6. For example, many positions at Cognizant are not
         24      even open to visa holding employees, meaning that any class member applying to such
         25      a position could not have been harmed by the alleged policies. Smith Dec. Ex. 8, ¶ 18;
         26
         27       3
                    Although Plaintiffs now use Cognizant’s alleged visa policies in support of their
                 disparate treatment claim, they previously described such practices as “‘facially neutral’
         28      and not facially discriminatory” to preserve their disparate impact claim, Dkt. 50.
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           1     Handloser, 2021 WL 879802, at *6 (noting same with respect to positions not open to
           2     visa holders). This same logic holds true for: (1) putative class members who applied to
           3     a position where there were no South Asian applicants considered at all; and (2) putative
           4     class members who applied to positions where Cognizant chose a non-South Asian
           5     applicant to fill the position. More than        of putative class members fall into one of
           6     these two categories. Smith Dec. Ex. 1, ¶ 119. That the only class representative for the
           7     hiring claim—Ed Cox (through Brian Cox)—was not passed over for a visa holder when
           8     he was not rehired in 2018 (Smith Dec. Ex. 7, ¶ 12), demonstrates this lack of causation.
           9     Indeed, years earlier, Ed Cox was hired by Cognizant. Id. ¶ 4. And Cox is not alone—
         10      there are 1,412 individuals who were both rejected for one position and hired for another
         11      during the Class Period, and thus experienced two different outcomes. Smith Dec. Ex.
         12      1, ¶ 120.
         13            Finally, the involvement of clients in the interview and hiring process—40% of
         14      all internal and external requisitions explicitly require a client interview, but the actual
         15      number is higher, Smith Dec. Ex. 8, ¶ 15—cuts against any finding of commonality. See
         16      Handloser, 2021 WL 879802, at *7 (“myriad of individual clients will have exercised
         17      their own discretion when interviewing potential candidates during Defendants’ hiring
         18      process[,]” undermining commonality); see Moorman Dec. ¶ 8 (“I have seen clients veto
         19      certain candidates . . .”); cf. Schanta Dec. ¶ 8 (“There are occasions where the client will
         20      say, we do not want this person.”).
         21                          (ii)   Statistics Do Not Bridge The Commonality Gap
         22            Plaintiffs’ statistical analysis covering a single Class Period (especially one
         23      reaching back to September 2013, three years before any hiring class) is meaningless.
         24      The differing statutes of limitations for Plaintiffs’ § 1981 and Title VII hiring claims 4
         25
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                    Plaintiffs’ proposed classes are subject to statutes of limitations that limit the class
         26      period. See Smith Dec. Ex. 2 (chart of limitations periods). In California, Title VII
                 claims that occurred more than 300 days before a charge is filed are time-barred. See 42
         27      U.S.C. §§ 2000e-5(e)(1), 12117(a). The Title VII hiring class cannot extend earlier than
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           1     render Plaintiffs’ failure to choose a particular theory of discrimination problematic. A
           2     disparate impact claim cannot be brought under § 1981. If Plaintiffs’ theory is really
           3     one of disparate impact, then only the Title VII time period is relevant. And, even if
           4     both disparate treatment and disparate impact theories are still viable, the class period
           5     covered by those theories are different.
           6           Under any theory, the methodologies of Plaintiff’s expert, Dr. Johnson, are highly
           7     suspect and will be the subject of a separate Daubert motion. Olean, 31 F.4th at 665,
           8     n.7 (noting propriety of Daubert challenges at class certification). Even if admissible,
           9     Dr. Johnson’s report should receive little weight because it is riddled with flaws and
         10      inconsistencies. Among other problems, the report relies on aggregate statistics that do
         11      not “conform to the level of decision” for hiring and thus cannot be probative of any
         12      alleged disparities in hiring. Moussouris, 2018 WL 3328418, at *24 (rejecting aggregate
         13      national statistics where the “relevant level of decision-making” was “the individual
         14      manager”); Smith Dec. Ex. 1, ¶¶ 72–73. When analyzed at the business unit level, for
         15      example, hiring outcomes vary—a result consistent with discretionary decisionmaking
         16      and wholly contrary to Plaintiffs’ theory of a common directive. Id. Ex. 1, ¶ 100. And
         17      Dr. Johnson does not even purport to show causation, which           “undermine[s] the
         18      reasonableness of the inference of discrimination” he purports to draw. White v. City of
         19      San Diego, 605 F.2d 455, 460 (9th Cir. 1979) (citation omitted); Smith Dec. Ex. 1, ¶ 78.
         20      As Dr. Johnson recognizes, correlation is not causation. Id. Ex. 11 at 71:11–72:9.
         21            Dr. Johnson’s report is also flawed because he improperly counts visa holders
         22      previously working at Cognizant in India as “new hires” upon their transfer to the United
         23      States. Dkt. 262-2, ¶ 38. This is the very mistake that led the court in Buchanan to
         24
         25
         26      October 11, 2017, Dkt. 256-93, and the Title VII terminations class cannot extend earlier
                 than December 15, 2016. Dkt. 256-92. As to § 1981, California’s two-year personal
         27      injury statute of limitations applies to failure to hire claims, Cole v. Lynwood Unified
                 Sch. Dist., 678 F. App’x 595, 596 (9th Cir. 2017), which means the § 1981 hiring class
         28      cannot extend back further than November 11, 2016, see Dkt. 45 (SAC).
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           1     conclude that, although the expert’s methodology was ultimately admissible (a “close
           2     call”), it was entitled to only “minimal weight.” 2017 WL 6611653, at *16, *20.
           3           In addition, Dr. Johnson’s benchmark to analyze alleged bias in hiring employees
           4     is unsupportable. He uses data from American Community Survey (ACS) to determine
           5     the fraction of IT workers across the whole industry who are not South Asian. Smith
           6     Dec. Ex. 1, ¶¶ 89-91. He then assumes that Cognizant’s hiring practices should align
           7     with industry averages and any significant deviation is a measure of bias. But the
           8     appropriate benchmark is the set of candidates who actually apply to Cognizant for
           9     external positions. Id. Ex. 1, ¶¶ 92-107. Cognizant can only evaluate and make offers
         10      to individuals who actually apply. See Moore v. Hughes Helicopters, 708 F.2d 475, 482
         11      (9th Cir. 1983) (“The best evidence of discriminatory impact is proof that an
         12      employment practice selects members of a protected class in a proportion smaller than
         13      their percentage in the pool of actual applicants.”).
         14            When one corrects Dr. Johnson’s two core errors by removing the improperly
         15      counted visa transferees and using actual applicants as the benchmark, there is no
         16      statistical disparity at all. Instead, “[i]n aggregate, employment offer rates are higher
         17      for non-South Asian applications.” Smith Dec. Ex. 1, ¶ 86 (emphasis added). That
         18      finding dooms Plaintiffs’ attempt to certify any class on the basis of statistical evidence.
         19                          (iii)   Plaintiffs’ Anecdotal Evidence Disproves Commonality
         20            As a last resort, Plaintiffs suggest, incorrectly, that the Letter of Determination by
         21      the EEOC (the “Letter”) substitutes for proof in this case and distinguishes this case
         22      from Handloser and Buchannan. It does not. First, the Letter applies to a wholly
         23      different class of employees than the Plaintiffs seek to certify, making it probative of
         24      nothing. The two-page Letter refers to “Cognizant discriminat[ing] against a nation-
         25      wide class of non-Indian applicants.” Dkt. 256-4. But that is not Plaintiffs’ theory.
         26      Plaintiffs’ theory is that Cognizant discriminates against non-visa holders (Mot. ii),
         27      which includes individuals of both Indian and non-Indian descent. While such a letter
         28      is neither “binding” nor “conclusive” in the main, it is utterly irrelevant here. Walker v.

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           1     Gates, 896 F.2d 556, 556 (9th Cir. 1990); see Plummer v. Western Int’l Hotels Co., 656
           2     F.2d 502, 504–05 (9th Cir. 1981) (letters of determination are admissible but “not
           3     binding,” noting that a “plaintiff has a difficult burden of proof”). Nor does it satisfy
           4     Plaintiffs’ burden of proof. The entire finding relies on a single paragraph mentioning
           5     “[a]n analysis of data collected throughout the investigation,” and “statistical analysis
           6     show[ing] significant short falls of non-Indian employees within Respondent’s work
           7     force.” Dkt. 256-1. But it is unclear from this Letter what was actually relied upon in
           8     reaching this determination. As a result, it possesses “very little probative value” here.
           9     Beard v. Kenan Transport Co., 2005 WL 8154710, at *9 (N.D. Ga. Nov. 23, 2005)
         10      (EEOC letters that did not state what evidence was considered were not probative of
         11      discrimination claims ); see also Walker, 896 F.2d at 556 (EEOC letter “did not have the
         12      benefit of supplemental briefing” and was not probative of plaintiffs’ claims); Finley v.
         13      UPS, 2018 WL 6421693, at *2 (D. Ariz. June 5, 2018) (EEOC determinations “vary in
         14      quality and detail” and are “not an adjudication of rights and liabilities”). 5
         15            Plaintiffs’ other anecdotal evidence similarly disproves commonality. Piroumian
         16      and Ed Cox were both hired by Cognizant. Smith Dec. Ex. 15 at 32:10-13; Ex. 7, ¶ 4;
         17      see also Ex. 9 at 47:1-14; Ex. 14 at 96:20-22. Indeed (and ironically) the only testimony
         18      from former employees concerning preference in hiring based on race is speculation that
         19      they were hired because they were white or non-Indian. Id. Ex. 14 at 96:20-22; Ex. 10
         20      at 78:19-79:8. None of this shows alleged discrimination on a classwide basis.
         21                   b.     Claims Based On Highly Individualized Terminations Cannot
         22                          Be Proven On A Common Basis
         23            Plaintiffs likewise identify no “common mode” of making terminations decisions
         24      “that pervades the entire company.” Dukes, 564 U.S. at 356. The delegation of broad
         25      guidelines to supervisors in individual business units is “not a specific employment
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                   Wright v. Stern, 2003 WL 21543539, at *6 (S.D.N.Y. July 9, 2003) (Mot. at 22) is not
         27      to the contrary. There, the district court held that a later DOJ lawsuit “asserting a pattern
                 and practice” of discrimination in addition to central policies and strong statistical
         28      evidence supported a finding that “common issues of fact and law exist.” Id. at *6.
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           1     practice supplying a common question sufficient to certify a class.” Dukes v. Wal-Mart
           2     Stores, Inc. (Dukes II), 964 F. Supp. 2d 1115, 1127 (N.D. Cal. 2013); see Handloser,
           3     2021 WL 879802, at *8 (no commonality where there is no evidence employment
           4     policies and procedures constrained the discretion of decisionmakers).
           5           Here, Plaintiffs do not even attempt to tie any of their purported “policies”
           6     pertaining to visas to terminations of individuals who are not on the bench. Only 31%
           7     of Cognizant Class Band employees were on the bench during the proposed Class
           8     Period. Smith Dec. Ex. 1, ¶ 40. And even Plaintiffs admit that the EEOC Letter “was
           9     primarily directed to terminations of ‘benched’ employees.” Mot. at 22, fn. 64.6
         10      Plaintiffs’ broader terminations class easily fails commonality on that basis alone.
         11            Moreover, the primary “termination” reasons identified by Plaintiffs’ expert for
         12      non-benched employees—“separation agreement,” “misconduct,” “job abandonment,”
         13      and “unsatisfactory performance”—are all, by their very nature, highly individualized.
         14      Dkt. 262-2. Plaintiffs offer no explanation about how non-bench termination decisions
         15      are made, let alone provide the requisite glue to hold a class of all “involuntary”
         16      terminations together. See Dukes II, 964 F. Supp. 2d at 1126 (no commonality where
         17      criteria applied by local managers was “so vague . . . that they imposed no real
         18      constraints”).
         19            Plaintiffs’ bench terminations subclass fares no better. First, as noted, none of the
         20      policies Plaintiffs point to actually exist and function as they have explained, and
         21      Plaintiffs have proffered no common evidence that could prove otherwise. See supra
         22      § II.F. Second, Plaintiffs cannot prove causation on a common basis. They attempt to
         23      do so through an expert, but Dr. Johnson’s analysis rests upon allegedly “involuntary”
         24      bench terminations codes, which he has categorized incorrectly. The number one bench
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         26      6
                   Plaintiffs try to fill this gap by asserting that Franchitti’s termination, which was not
                 from the bench, was part of this alleged pattern or practice, but that is not what his letter
         27      said. His letter clearly stated that “credible evidence” supported Franchitti’s claim that
                 he was “discharged in retaliation,” not because of discrimination. Dkt. 256-4 at p. 8.
         28      Moreover, Franchitti is not seeking to represent the class.
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           1     termination reason identified by Dr. Johnson is “location preference,” which is, in fact,
           2     a voluntary termination based on the individual’s decision to reject relocation. Smith
           3     Dec. Ex. 25; Ex. 1, ¶¶ 133-134. In other words, his model disproves commonality.
           4           Even terminations from the bench for failure to become allocated (whether at five
           5     weeks or later) are fundamentally individualized. The inability to find a position could
           6     be the result of dozens of different factors, from an individual employee’s skill and
           7     effort, to their industry experience (or lack thereof), to billing rate, to client feedback.
           8     See supra § II.G. In short, Cognizant’s practice of terminating some individuals from
           9     the bench after five weeks merely provides a “framework” rather than any “constraint[]
         10      on discretion.” Moussouris, 2018 WL 3328418, at *19.
         11            Plaintiffs try to liken their bench terminations class to that certified in Buchanan,
         12      but the evidence does not support it. 2017 WL 6611653. Plaintiffs in Buchanan
         13      presented documents “describ[ing] a general corporate policy of favoring” visa holders
         14      “in allocating benched employees to open client projects.” Id. at *20 (emphasis added).
         15      Here, Plaintiffs have offered no such evidence. Instead, the evidence shows Cognizant
         16      does not have policies that operate as Plaintiffs posit. See supra § II.F. And, even if it
         17      did, Cognizant’s diffuse and ad hoc staffing procedures would not permit such policies
         18      to be implemented in any common manner. See supra § II.D.
         19                          (i)    Statistics Don’t Solve Plaintiffs’ Commonality Problem
         20            Plaintiffs rely on Dr. Johnson’s statistical analyses to show a purported disparity
         21      in termination rates between South Asians and non-South Asians. That analysis is flawed
         22      insofar as it inappropriately aggregates firm-wide data, which is not the decisionmaking
         23      level. Dukes, 564 U.S. at 356–57; see Moussouris, 2018 WL 3328418, at *24; see supra
         24      §§ II.C, II.D, II.G. When analyzed at the business unit level, for example, 13 of 25
         25      business units had lower terminations rates of non-South Asians, which shows the
         26      absence of a firm-wide common practice. Smith Dec. Ex. 1, ¶¶ 144-145.
         27            In addition, Dr. Johnson’s analysis cannot reliably demonstrate the reason for a
         28      particular termination decision or account for individual factors. See White, 605 F.2d at

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           1     460; Smith Dec. Ex. 1, ¶¶ 125, 131-135. Dr. Johnson does not analyze causation and
           2     concedes the terminations codes themselves do not necessarily reflect the true reasons
           3     for termination. Id. Ex. 11 at 189:25–190:7, 76:11-77:10; Ex. 1, ¶ 136. That means, his
           4     analysis cannot answer the question, why was I disfavored.7 See Dukes, 564 U.S. at
           5     354-355. And notably, when individuals who transferred back to India or elsewhere are
           6     included in the analysis, non-South Asian employees were terminated at lower rates than
           7     South Asian employees. Id. Ex. 1, ¶ 141. “The impact of this adjustment on Dr.
           8     [Johnson’s] analysis” is not “de minimis” and “impact[s] the statistical significance of
           9     his findings.” See Buchanan, 2017 WL 6611653, at *9 n.14.
         10            Termination trends at Cognizant do not otherwise support Plaintiffs’ theories.
         11      First, Plaintiffs’ theory that non-visa holders are disproportionately allocated to the
         12      bench is belied by the fact that South Asian employees are more likely to be allocated to
         13      the bench. Smith Dec. Ex. 1, ¶ 149. Second, the South Asian and visa-holding
         14      proportion of Cognizant’s workforce has declined over time, which is inconsistent with
         15      Plaintiffs’ theory that Cognizant is disproportionately terminating non-South Asians. Id.
         16      at ¶¶ 150-151. If Cognizant were favoring South Asians and visa holders, fewer South
         17      Asians and visa holders should be sent to the bench, and their proportion of Cognizant’s
         18      workforce should increase over time. Id. at ¶¶ 146-148. Not so here. Plaintiffs have
         19      shown nothing more than a policy of delegated discretion, and their aggregate statistics
         20      are thus insufficient to support commonality. Dukes, 564 U.S. at 357.
         21                         (ii)   Anecdotal Evidence Is Sparse And Unpersuasive
         22            Plaintiffs’ anecdotal evidence of discrimination does not constitute the requisite
         23      “substantial proof” required to establish commonality. Plaintiffs submit a smattering of
         24      EEOC charges and internal employee complaints alleging various types of
         25      discrimination. These hearsay statements “cannot support class wide adjudication.” See
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                   Dr. Johnson incorrectly classifies all of these terminations codes as involuntary.
         27      Compare Dkt. 262-2, ¶ 23, with Smith Dec. Ex. 25. Plaintiffs’ entire explanation of
                 what constitutes an involuntary termination rests on a single document lacking
         28      foundation or reliability—Exhibit 9 to Westphal’s deposition. See Dkt. 262-2, ¶ 23.
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           1     supra § IV.A.I.a.iii; Herrera v. Serv. Emps. Int’l Union Loc. 87, 2012 WL 13059697, at
           2     *6 (N.D. Cal. Apr. 10, 2012). Even if considered, these few anecdotal complaints in a
           3     company with more than 40,000 U.S. employees do not rise to the level of a “general,
           4     companywide policy of discrimination.” Moussouris, 2018 WL 3328418, at *25 (9
           5     declarations for 8,360 class members “not sufficiently representative of the entire
           6     culture”); see Dukes, 564 U.S. at 358; Herrera, 2012 WL 13059697, at *6 (“handful” of
           7     anecdotes describing discriminatory conduct insufficient). And the EEOC Letter is of
           8     no more value here than on the hiring claim, for the same reasons. Dukes, 564 U.S. at
           9     358; Beard, 2005 WL 8154710, at *9; see supra § IV.A.1.a.iii.
         10                  2.     Plaintiffs’ Disparate Impact Claim Presents No Common
         11                         Questions
         12            Disparities are not unlawful—Title VII imposes no quotas on employers. See 42
         13      U.S.C. § 2000e-2(j); Watson v. Fort Worth Bank & Trust, 487 U.S. 977, 992 (1988);
         14      Furnco Constr. Corp. v. Waters, 438 U.S. 567, 578 (1978). To prove a disparate impact
         15      claim, plaintiffs must show that a specific policy or practice caused an alleged race or
         16      national origin disparity. Wards Cove Packing Co. v. Antonio, 490 U.S. 642, 657 (1989),
         17      superseded by statute on other grounds, 42 U.S.C. § 2000e-2(k). Plaintiffs have no
         18      evidence to prove that a common policy or practice caused these alleged disparities.
         19            The record establishes Cognizant’s practice of allowing discretion by managers
         20      over hiring and termination decisions, and merely showing that a “policy of discretion
         21      has produced an overall [race]-based disparity does not suffice.” Dukes, 564 U.S. at
         22      357. The Supreme Court was unequivocal on this point in Dukes—delegated discretion
         23      is “just the opposite of a uniform employment practice that would provide the
         24      commonality needed for a class action,” as well as “a very common and presumptively
         25      reasonable way of doing business.” Id. at 355. No preference for visa holders was
         26      implemented at all, much less consistently across business units, managers or clients,
         27      and, therefore, Plaintiffs cannot establish commonality.
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           1           Even if plaintiffs could identify a specific employment policy that was actually
           2     implemented, they would have to prove that it caused a complained-of disparity. Wards
           3     Cove, 490 U.S. at 657. As Plaintiffs’ expert concedes, “I am not presenting an expert
           4     opinion on the causality in this case.” Smith Dec. Ex. 11 at 77:6-7. Nor do Plaintiffs
           5     offer any other evidence of causation. This is fatal to Plaintiffs’ disparate impact claim.
           6                  3.     There Is No Adequate Or Typical Hiring Class Representative
           7           Even if the Court were to find commonality is satisfied, the only proposed class
           8     representative for the hiring class is (potentially) Brian Cox. 8 But Brian Cox is not a
           9     typical or adequate class representative for a hiring class.
         10            To start, although Plaintiffs claim 169,000 individuals were subject to
         11      Cognizant’s alleged preference for visa holders in hiring, they have failed to proffer even
         12      one proposed class representative who lost a job to an Indian, South Asian, or visa
         13      holding candidate, including Ed Cox himself. Ed Cox applied for, was offered, and took
         14      a position at Cognizant in 2014—during the Class Period. He was not hired for a
         15      proposed role in 2018 because (1) the position was never formally requisitioned, opened
         16      to applications, or internally approved, and (2) it was decided that, if the position was
         17      someday opened, it would be filled by an internal—not external—applicant, and (3)
         18      Cognizant decided to forego the position entirely. Smith Dec. Ex. 7, ¶¶ 7-12; see also
         19      Dkt. 266 (pending motion for partial summary judgment of Cox’s rehire claim). Ed Cox
         20      therefore “could not have been harmed by Defendants’ alleged practice of favoring visa-
         21      ready Indian candidates” in hiring because he was actually hired in 2014, Smith Dec.
         22      Ex. 1, ¶ 120; Ex. 7, ¶ 4. Handloser, 2021 WL 879802, at *9-10 (denying certification
         23      and finding no typicality where plaintiff was rejected but “[Defendant] did not fill the
         24      open position” based on client input); see also Hanon v. Dataproducts Corp., 976 F.2d
         25      497, 508 (9th Cir. 1992) (“The test of typicality ‘is whether other members have the
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                    The parties stipulated to the substitution of Brian for Ann Cox, but the Court has yet
         27      to rule on this stipulation. Dkt. 265. If the stipulation is not granted, there is no
                 representative for a hiring class and certification should be denied. Barnett v. Cty. of
         28      Contra Costa, 2007 WL 196678, at *1 (N.D. Cal. Jan. 24, 2007).
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           1     same or similar injury, whether the action is based on conduct which is not unique to the
           2     named plaintiffs, and whether other class members have been injured by the same course
           3     of conduct.’”) (citation omitted); TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2208
           4     (2021).
           5           Not only are Ed Cox’s claims atypical and subject to an analysis that illustrates
           6     the individualized decisions at issue in this case, but Brian Cox is also an inadequate
           7     representative.   Rule 23’s adequacy requirement “is widely considered the most
           8     important of the Rule 23(a) factors because it directly implicates the due process rights
           9     of absent class members who will be bound by the judgment.” Gordon v. Sonar Cap.
         10      Mgmt. LLC, 92 F. Supp. 3d 193, 198 (S.D.N.Y. 2015). Plaintiffs bear the burden of
         11      demonstrating through admissible evidence that Brian Cox is adequate. Olean, 31 F.4th
         12      at 665. In particular, Plaintiffs must show that he (1) has critical knowledge of the case,
         13      and (2) has not abdicated all control to counsel. Keegan v. Am. Honda Motor Co., 284
         14      F.R.D. 504, 525 (C.D. Cal. 2012). They have shown neither.
         15            First, Plaintiffs offered no evidence from either Ann or Brian Cox with their
         16      motion, thereby effectively conceding that they lack the requisite knowledge to properly
         17      represent a class. Even if the Court could consider evidence outside Plaintiffs’ moving
         18      papers that bears on Brian Cox’s knowledge—specifically, his declaration filed with
         19      Plaintiffs’ notice of Ann Cox’s impending death—it is insufficient because it fails to
         20      attest he has any particular knowledge of Ed Cox’s claims. Dkt. 257-1. By failing to
         21      articulate any understanding of the case beyond the fact that Ed Cox was pursuing a
         22      “class discrimination claim,” Brian Cox shows he is not “familiar with the basic
         23      elements of [the] claim[s]” he seeks to represent. In re Citric Acid Antitrust Litig., 1996
         24      WL 655791, at *4 (N.D. Cal. 1996).
         25            Second, Ed Cox’s successors have abdicated all control of this case to counsel,
         26      violating the requirement that class representatives “not simply len[d] their names to a
         27      suit controlled entirely by the class attorney.” Tria v. Innovation Ventures, LLC, 2013
         28      WL 12324181, at *7 (C.D. Cal. Feb. 25, 2013), adopted by Dkt. 169. Ann Cox did not

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           1     notify Plaintiffs’ counsel of her husband’s death for four months after his passing,
           2     claiming she “did not know the name of the firm representing [Mr. Cox] in the lawsuit.”
           3     Dkt. 164-2 at 2. Even more telling, Plaintiffs’ counsel did not notice Ed Cox’s absence
           4     during those four months, even though the parties were discussing dates and locations
           5     for his deposition, Cognizant served interrogatories on him, and Plaintiffs filed two
           6     motions—one for an extension of the case schedule and another about discovery. Smith
           7     Dec. ¶ 40. Apparently, Plaintiffs’ counsel was so accustomed to operating without Mr.
           8     Cox’s input that they did not notice his absence. This, combined with a record devoid
           9     of any evidence that Ed, Ann, or Brian Cox made any substantive decisions in this case,
         10      demonstrates a “fail[ure] to take even minimal interest” in the action.         Simon v.
         11      Ashworth, Inc., 2007 WL 4811932, at *3 (C.D. Cal. Sept. 28, 2007).
         12                   4.    There Is No Adequate Or Typical Terminations Representative
         13            For the same reasons noted above, Ed Cox’s successors are inadequate
         14      representatives of any terminations class. His termination claim is also atypical: he was
         15      removed from only one assignment, a nonbillable role, and placed just once on the
         16      bench; he was sent there as a result of a margin optimization program that cut his
         17      position; and as part of that program, he could only be proposed for billable roles. Smith
         18      Dec. Ex. 7, ¶¶ 5-6. Because of these differences, Mr. Cox’s interests do not “align[]
         19      with the interests of the class.” Hanon, 976 F.2d at 508.
         20            Piroumian, the only other would-be representative of the terminations class, is
         21      also inadequate and atypical because his credibility and motives threaten to become
         22      “[t]he major focus of this litigation.” Nghiem v. Dick’s Sporting Goods, Inc., 318 F.R.D.
         23      375, 383 (C.D. Cal. 2016) (named plaintiff atypical and inadequate where “he and his
         24      counsel [would] have to devote most of their time and resources trying to refute
         25      Defendants’ attacks on his character and his motivations for filing and litigating this
         26      lawsuit”). Two days into his final stint on the bench, Piroumian sent an email to the
         27      founder of Protect US Workers stating that he was “at Cognizant for another four weeks”
         28      and indicating that he “w[ould] be participating in the law suit that Daniel Kitchen [sic]

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           1     is preparing.” Smith Dec. Ex. 27. This email calls into question whether Piroumian was
           2     even attempting to be allocated or instead “welcomed and hoped for” his termination
           3     from the bench to “fabricate[] this lawsuit.” See Nghiem, 318 F.R.D. at 382 (no typicality
           4     where there were questions about whether the would-be class representative had opted
           5     into a text message program to manufacture the lawsuit). In addition, Piroumian made
           6     several derogatory comments about South Asians, calling into question his motivations
           7     for filing suit. Smith Ex. 22 (“I’m not one of your Indian visa workers”); Ex. 23
           8     (“Insulting . . . Must be run by Indians . . . . Hey dude, Namaste . . . .”); Ex. 21.
           9           Piroumian also cannot bring a claim predicated upon any visa theories. See Dkt.
         10      42 at 8 (dismissing Piroumian’s Title VII “disparate impact claims arising out of
         11      Cognizant’s practice of applying for visas”); Dkt. 58 at 3 (dismissing claims “again”).
         12            Finally, intra-class conflicts also prohibit certification of the proposed classes. At
         13      the very least, individuals at the Manager level and above participate in the types of
         14      employment decisions Plaintiffs challenge. Copeland Dec. ¶¶ 5-6; Schanta Dec. ¶
         15      8. Where claimants “participate[ ] in” challenged employment decisions, there is “a
         16      conflict of interest between the plaintiffs and unnamed members of the class” that
         17      defeats adequacy. Randall v. Rolls-Royce Corp., 637 F.3d 818, 824 (7th Cir. 2011); see
         18      Hansberry v. Lee, 311 U.S. 32, 44-46 (1940).
         19                   5.     Concerns Exist Regarding Counsel’s Adequacy
         20            “Misconduct by class counsel that creates a serious doubt that counsel will
         21      represent the class loyally requires denial of class certification.” Creative Montessori
         22      Learning Centers v. Ashford Gear LLC, 662 F.3d 913, 918 (7th Cir. 2011). Plaintiffs’
         23      counsel’s conduct in this case has put into question their ability to competently and
         24      ethically bring the matter to trial. Smith Dec. ¶¶ 41-46; Kaufman v. American Family
         25      Mut. Ins. Co., 2008 WL 1806195, at *6 (D. Colo. 2008) (counsel’s adequacy undercut
         26      when they violated protective order regarding contact information of potential class
         27      members). Plaintiffs’ counsel have repeatedly flouted their ethical obligations with
         28      respect to privileged materials. In October 2021, Cognizant discovered that many

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           1     privileged documents had been produced due to a vendor error, but Plaintiffs’ counsel
           2     never alerted Cognizant and refused to sequester the documents for six days after
           3     Cognizant discovered the issue. Smith Dec. ¶¶ 41-43. More recently, Plaintiffs’ counsel
           4     refused to sequester two privileged documents submitted with the instant motion, solely
           5     because they disagreed with the claim of privilege. Id. ¶¶ 44-45. And, despite ultimately
           6     agreeing to sequester the documents, they subsequently provided a lengthy analysis of
           7     those very documents to this Court, in violation of the Protective Order entered by the
           8     Court (Dkt. 63, 64) and their ethical duties. Id. ¶ 46. Such conduct (particularly in light
           9     of the other failings detailed in the Smith Declaration) falls well short of the ethical
         10      standards expected of would-be class counsel.
         11            On multiple occasions, Plaintiffs’ counsel has failed to meet and confer prior to
         12      filing motions (Dkts. 153, 258), filed untimely briefs (resulting in dismissal) (Dkts. 172,
         13      253), and ignored the Court’s and the Central District’s Local Rules regarding sealing,
         14      requiring Cognizant to file two ex parte applications to protect confidential information
         15      (both granted) (Dkts. 94, 98, 109, 116). Counsel even failed to follow the rules on this
         16      very motion, resulting in their entire under-seal filing being rejected. Dkt. 258.
         17            Counsel’s other failures also warrant a finding of inadequacy. Counsel failed to
         18      demonstrate that any of their clients are adequate class representatives; neglected or
         19      decided outright not to have their clients sign their declarations under penalty of perjury
         20      (in contravention of 28 U.S.C. § 1746); jettisoned swaths of employees from the
         21      proposed class; and, after five years of litigation, failed to find a single class member
         22      who was not hired to a position that actually came to fruition and can thus represent the
         23      hiring class, which makes up over 97% of the putative class members. Davidson v.
         24      Citizens Gas & Coke Util., 238 F.R.D. 225, 232 (S.D. Ind. 2006) (finding absence of
         25      adequacy based in part on “[c]ounsel’s demonstrated deficiencies in performance”).
         26            B.     Plaintiffs Fall Far Short Of Meeting 23(b)(3)’s Stringent Standards
         27            In addition to Rule 23(a)’s prerequisites, Plaintiffs must also satisfy Rule
         28      23(b)(3)’s predominance and superiority requirements. They fail to do so.

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           1                  1.    Plaintiffs Fail To Prove Predominance For Any Of Their Classes
           2           The “more demanding” predominance standard of Rule 23(b)(3) requires that
           3     there be “generalized evidence which proves or disproves [the] issue or element on a
           4     simultaneous, class-wide basis” such that it “obviates the need to examine each class
           5     members’ individual position.” Comcast, 569 U.S. at 34; Ellis v. Costco Wholesale
           6     Corp., 285 F.R.D. 492, 537 (N.D. Cal. 2012) (“Mere allegations of a pattern or practice
           7     of discrimination do not per se satisfy [] predominance” because they still “must be
           8     subject to generalized proof.”).
           9           Plaintiffs here seek to proceed under the Teamsters pattern or practice framework.
         10      In Phase I, Plaintiffs must establish discrimination was “the company’s standard
         11      operating procedure.” Int’l Bhd. of Teamsters v. United States, 431 U.S. 324, 336, 360–
         12      61 (1977). If the employer is unable to show that plaintiffs’ “proof is either inaccurate
         13      or insignificant,” or if it cannot “offer[] some legitimate, nondiscriminatory reason” for
         14      the statistical disparity, class members are entitled to an “inference” in Phase II that
         15      employment decisions were made pursuant to that policy. Id. at 358. In Phase II, the
         16      employer may rebut this inference by raising individual defenses or demonstrating that
         17      the employment decision was made “for lawful reasons.” Id. at 362.
         18            Plaintiffs try to skirt Rule 23’s predominance requirement by asking the Court to
         19      completely ignore the individualized inquiries that are required at both Phase I and Phase
         20      II in order to establish liability under Title VII and § 1981. This misuse of Teamsters is
         21      the same gambit the plaintiffs in Dukes tried, and the Supreme Court rejected. 564 U.S.
         22      at 366–67 (rejecting trial by formula). Plaintiffs’ approach—focusing solely on certain
         23      questions in Phase I—cannot support class certification here because it does not
         24      eliminate the need for individualized inquiries. Handloser, 2021 WL 879802, at *11;
         25      see Klay v. Humana, Inc., 382 F.3d 1241, 1255 (11th Cir. 2004), abrogated in part on
         26      other grounds by Cherry v. Dometic Corp., 986 F.3d 1296 (11th Cir. 2021) (If “after
         27      adjudication of the classwide issues” plaintiffs must still introduce “a great deal of
         28      individualized proof” for liability, certification is improper.); Chen-Oster v. Goldman,

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           1     Sachs & Co., 325 F.R.D. 55, 81 (S.D.N.Y. 2018) (predominance not satisfied for pattern
           2     or practice claim regarding “boy’s club” culture); Davis, 2021 WL 2556012, at *12
           3     (same for hiring class). This question of common proof for liability is distinct from the
           4     unremarkable proposition that “the presence of individualized questions regarding
           5     damages” does not necessarily preclude a finding of predominance. Ellis, 285 F.R.D. at
           6     539 (emphasis added).
           7           Plaintiffs presented this same theory—certification only of certain questions in
           8     Phase I—to the court in Handloser (No. 5:19-cv-01242-LHK, Dkt. 163 at 1), but the
           9     court rejected it out of hand, noting many highly individualized inquiries would need to
         10      occur to proceed and not even mentioning Teamsters, let alone phases. See Handloser,
         11      2021 WL 879802. Handloser explained, for example, that for “putative class members,
         12      an individual inquiry into the client interview and evaluation process will predominate
         13      over questions of law or fact common to the class as a whole.” Id. at *11. Similarly,
         14      “[d]etermining Defendants’ liability will . . . require an individual inquiry into whether
         15      the position that a putative class member applied for was restricted to United States
         16      citizens or green card holders.” Id. And, even in assessing the threshold commonality
         17      standard, it found that the “putative class lack[ed] a common hiring experience that could
         18      tie their individual employment decisions together,” noting “dramatically different
         19      hiring procedures depending on which job they applied for. . . .” Id. at *8.
         20            The same is true here. For each putative class member in the hiring class, there
         21      must be individualized determinations of: how a candidate applied (e.g., external
         22      sources or referral); what the candidate’s application process was like; whether the
         23      position was restricted to U.S. citizens or green card holders; whether the client was
         24      involved in the process; whether the candidate met the job qualifications; whether the
         25      position was ultimately filled; and if the position was filled, whether it was filled with a
         26      current Cognizant employee or a visa holder.
         27            Individualized considerations abound for the terminations class as well, including
         28      whether a termination was voluntary or involuntary, whether the employee was replaced

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           1     by a visa holder, or whether the employee’s position was eliminated altogether. For
           2     bench terminations, questions as to whether decisions by class members themselves—
           3     rejecting a position, refusing to relocate, refusing to travel, or being unavailable or
           4     unresponsive to potential opportunities—resulted in the termination will predominate;
           5     as will questions of whether there was even any available position for which they were
           6     qualified or whether they were passed over for visa-holding employees.
           7           Such individualized considerations take this case outside of Plaintiffs’ authorities.
           8     Unlike in Chicago Teachers Union v. Board of Education, putative class members here
           9     have not “suffered the same injury at the same time as the result of the same [] process
         10      by the same central decision-maker.” 797 F.3d 426, 444 (7th Cir. 2015). Nor have
         11      Plaintiffs identified a “common nationwide [] system” causing any alleged disparity. Cf.
         12      Ellis, 285 F.R.D. at 538.
         13            Even if Plaintiffs could establish an “inference” that employment decisions were
         14      made pursuant to a discriminatory policy in Phase I, Teamsters, 431 U.S. at 362,
         15      Cognizant would “have the right to raise any individual affirmative defenses it may have,
         16      and to ‘demonstrate that the individual applicant was denied an employment opportunity
         17      for lawful reasons.’” Dukes, 564 U.S. at 367 (quoting Teamsters, 431 U.S. at 362); In
         18      re Autozone, Inc., 2016 WL 4208200, at *15 (N.D. Cal. Aug. 10, 2016) (rejecting
         19      argument that defenses speak only to damages, not liability). Similarly, Cognizant is
         20      entitled to present evidence that any policies and practices that had a disparate impact
         21      were justified by a “business necessity.” Mot. 34. As to that question, different
         22      justifications may have existed over time, and individual trials would be necessary to
         23      sort that out. See Bates v. United Parcel Serv., Inc., 511 F.3d 974, 989 (9th Cir. 2007).
         24            The same is true of punitive damages. Given the number of decisionmakers here,
         25      deciding whose conduct should subject the Company to punitive damages will require
         26      individualized inquiries. See supra §§ II.C, II.D, II.G. Moreover, in addition to proving
         27      intentional discrimination (punitive damages are only available for disparate treatment
         28      claims), class members must “make an additional ‘demonstrat[ion]’ of their eligibility

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           1     for punitive damages.” Kolstad v. 57 Am. Dental Ass’n, 527 U.S. 526, 534 (1999)
           2     (alteration in original) (citing 42 U.S.C. § 1981a(b)(1)).
           3           Nor can Plaintiffs rely on issue certification under 23(c)(4) “to fix manifest Rule
           4     23(b)(3) predominance problems presented where key issues going to liability require
           5     individualized proof.” Moeller v. Taco Bell Corp., 2012 WL 3070863, at *6 (N.D. Cal.
           6     July 26, 2012). To the extent that Plaintiffs rely upon the Ninth Circuit’s decision in
           7     Valentino v. Carter-Wallace, Inc. to suggest that issue certification pursuant to Rule
           8     23(c)(4) is appropriate “[e]ven if the common questions do not predominate over the
           9     individual questions,” 97 F.3d 1227 (9th Cir. 1996), that proposition does not survive
         10      Dukes, 564 U.S. 338. The Supreme Court in Dukes held that plaintiffs must satisfy both
         11      Rule 23(a) and (b) in order to obtain certification (id. at 345) and specifically rejected
         12      the argument that class certification was appropriate “[w]hen the plaintiff seeks
         13      individual relief . . . after establishing a pattern or practice of discrimination” because
         14      the district court “must usually conduct additional proceedings . . . to determine the
         15      scope of individual relief,” id. at 366. Because Valentino’s reasoning “is clearly
         16      irreconcilable with the reasoning or theory of intervening higher authority” in Dukes,
         17      Valentino has been “effectively overruled.” Miller v. Gammie, 335 F.3d 889, 893 (9th
         18      Cir. 2003) (en banc). Even if Valentino survives after Dukes, Plaintiffs must still prove
         19      that the “adjudication of the certified issues” will “significantly advance the resolution
         20      of the underlying case, thereby achieving judicial economy and efficiency.” Valentino,
         21      97 F.3d at 1229 (emphasis added). Courts therefore refuse to certify Rule 23(c)(4) issue
         22      classes where, as here, “the common issues are inextricably tied to the individual issues,”
         23      or “where the individual issues still make the case unmanageable.” In re Paxil Litig.,
         24      212 F.R.D. 539, 543 (C.D. Cal. 2003); McKinnon v. Dollar Thrifty Auto. Grp., Inc., 2015
         25      WL 4537957, at *12 (N.D. Cal. July 27, 2015).
         26                   2.     Plaintiffs Fail To Prove Superiority
         27            Plaintiffs also cannot show that a class action is “superior” to other available
         28      methods for adjudicating this controversy because Title VII and § 1981 individual

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           1     lawsuits are a realistic and feasible alternative. Fed. R. Civ. P. 23(b)(3); Valentino, 97
           2     F.3d at 1234–35 (class action is “superior method for managing litigation if no realistic
           3     alternative exists”).
           4           Although damages class actions often involve claims with “relatively paltry
           5     potential recoveries,” Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 617 (1997)
           6     (citation omitted), potential recovery in Title VII and § 1981 may not be. See, e.g.,
           7     Miller v. Hygrade Food Prods. Corp., 198 F.R.D. 638, 643 (E.D. Pa. 2001) (Title VII
           8     plaintiffs can receive up to $300,000). The availability of attorneys’ fees under both
           9     statutes, 42 U.S.C. § 2000e-5(k) and 42 U.S.C. § 1988(b-c), also undermines Plaintiffs’
         10      argument that there are “significant resource barriers required to pursue a case.” Mot.
         11      31. And this isn’t merely a hypothetical possibility, as five former employees (including
         12      Franchitti) are currently pursuing individual Title VII or § 1981 actions against
         13      Cognizant. And Plaintiffs’ fear of retaliation argument (Mot. at 31), is implausible given
         14      that the class definitions exclude current Cognizant employees. See Dickerson v. Mack
         15      Trucks, Inc., 2013 WL 3507508, at *4 (D. Md. July 10, 2013).
         16                   3.      Plaintiffs’ Proposed Classes Are Unmanageable
         17            Class certification is inappropriate under Rule 23(b)(3) “[w]hen the complexities
         18      of class action treatment outweigh the benefits of considering 5 issues in one trial.”
         19      Zinser v. Accufix Research Inst., Inc., 253 F.3d 1180, 1192 (9th Cir. 2001). The
         20      quintessential “unmanageable” scenario arises when “each class member has to litigate
         21      numerous and substantial separate issues to establish his or her right to recover
         22      individually.” Id.
         23                   a.      Teamsters Does Not Render The Proposed Classes Manageable
         24            Plaintiffs principally propose to manage this case using the two-part Teamsters
         25      framework, claiming that in Phase I, a jury can decide if a “pattern or practice” of
         26      discrimination exists and thereby establish a “presumption” of discrimination; and, then
         27      in Phase II, the court and the parties can choose from a menu of five proposals that they
         28      claim, incorrectly, will make the remaining individualized issues manageable. Mot. 32-

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           1     33; Dkt. 256-112 (“Phase II Procedures”).
           2           As discussed, supra § IV.B.1, however, a determination in Phase I of Teamsters
           3     as to “whether Cognizant engaged in a pattern or practice of discrimination” (Mot. 34),
           4     does not “significantly advance” the resolution of the litigation because Cognizant will
           5     have a right to present its defenses to liability consistent with due process in both phases.
           6     As such, the Teamsters framework provides no basis to certify a class under any rule.
           7           Plaintiffs’ additional brief (Exhibit 109) confirms that mini-trials are in fact the
           8     only way to resolve these claims. Acknowledging that a favorable Phase I finding for
           9     Plaintiffs results only in a “rebuttable presumption” of discrimination, Plaintiffs suggest
         10      (among other unworkable alternatives discussed in § IV.B.4, infra) potentially tens of
         11      thousands of Phase II individual trials, during which Cognizant would be entitled to
         12      individualized determinations of liability and damages. Ex. 109 at 7. This is exactly
         13      what the class action process is engineered to avoid, and numerous courts have denied
         14      class certification on superiority grounds in these circumstances.9 Allison v. Citgo
         15      Petroleum Corp., 151 F.3d 402, 420 (5th Cir. 1998) (no certification of 1,000+ person
         16      pattern/practice class because “success of these claims will turn ultimately on the special
         17      circumstances of each individual’s case”); Ramirez v. DeCoster, 194 F.R.D. 348, 354
         18      (D. Me. 2000) (no certification of 1,000-member class noting, “[t]he predominance of
         19      individual issues ultimately to be tried to a single jury in Phase 2 lessens any potential
         20      superiority the class mechanism could have in resolving” Section 1981 claims based on
         21      pattern or practice theory); see also Rutstein v. Avis Rent-A-Car Sys., Inc., 211 F.3d
         22      1228, 1239 (11th Cir. 2000) (similar).
         23                   b.     Plaintiffs Offer No Manageable Way To Resolve Phase II
         24            Acknowledging that Phase II will require individualized inquiries, Plaintiffs offer
         25
         26      9
                   Plaintiffs’ reliance on Bell v. PNC Bank, which certified a class of 286 people despite
         27      the need for subsequent individual trials (Mot. at 30), is misplaced. Not only was that
                 class less than 1% the size of the proposed classes here, but it was also a wage-and-hour
         28      FLSA matter, not a discrimination case using the Teamsters framework.
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           1     a menu of five “Phase II Procedures” which they claim will satisfy Rule 23(b)(3) and
           2     (c)(4)’s manageability requirements. But courts have resoundingly rejected this kind of
           3     “figure-it-out-as-we-go-along-approach” to certification.       Robinson v. Tex. Auto.
           4     Dealers Ass’n, 387 F.3d 416, 425 (5th Cir. 2004). And for good reason: A “district
           5     court must . . . consider in every case” whether certification will “bring in thousands of
           6     other possible claimants, all of whom may assert individualized claims requiring mini-
           7     trials with juries” because that fact, if true, would nullify “the justification of class
           8     certification.” Windham v. Am. Brands, Inc., 565 F.2d 59, 69 (4th Cir. 1977).
           9           None of Plaintiffs’ options works. The first two—settlement and ADR—require
         10      Cognizant’s consent, which it is not obligated to give. D.C. by & through Garter v. Cty.
         11      of San Diego, 2018 WL 692252, at *4 (S.D. Cal. Feb. 1, 2018) (rejecting the
         12      “speculative” theory “that the case might settle” as a grounds to certify a class). So too
         13      with the third option—appointment of a special master—which would “divest
         14      [Cognizant] of its [constitutional] right to a jury trial and due process rights to present
         15      individualized defenses” as to each class member. Id.
         16            The fourth proposal—“individual or group hearings” or “subclasses”—is
         17      similarly unworkable to the extent it calls for group litigation. In adjudicating a class
         18      action, one cannot simply “assume[] away relevant variations” among class members.
         19      Gates v. Rohm & Haas Co., 655 F.3d 255, 267 (3d Cir. 2011); Daniel F. v. Blue Shield
         20      of Cal., 305 F.R.D. 115, 125 (N.D. Cal. 2014) (rejecting subclasses “where ascertaining
         21      class membership necessitates an unmanageable individualized inquiry”).
         22            The final proposal—end the case after Phase I and “allow class members to
         23      individually pursue remedial claims” (Dkt. 256-112 at 6)—introduces more problems
         24      than it solves. This method for resolving liability would require thousands of mini-trials
         25      to be overseen by numerous adjudicators—a result that would undermine “the efficiency
         26      and economy of litigation[,] which is a principal purpose of the [class action]
         27      procedure.” Am. Pipe & Const. Co. v. Utah, 414 U.S. 538, 553 (1974). Indeed, given
         28      the claimed size of the putative classes, if the Court could try one putative class

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           1     member’s claim per weekday, it would take 665 years to try them all. In re Hotel Tel.
           2     Charges, 500 F.2d 86, 90 (9th Cir. 1974) (no certification where individual issues would
           3     “splinter” case into “thousands” of trials requiring “years to litigate”). Not only would
           4     this process not make liability determinations manageable, it does nothing to
           5     demonstrate “that damages are susceptible of measurement across the entire class”—a
           6     showing Plaintiffs must also make as a prerequisite to certification. Comcast, 569 U.S.
           7     at 35. In short, there is no way to avoid what would inevitably follow if a Phase I class
           8     were certified—namely, thousands of mini-trials in Phase II. See Marlo v. United Parcel
           9     Serv., Inc., 251 F.R.D. 476, 486 (C.D. Cal. 2008), aff’d, 639 F.3d 942 (9th Cir. 2011);
         10      Jimenez v. Domino’s Pizza, Inc., 238 F.R.D. 241, 253 (C.D. Cal. 2006).
         11            Plaintiffs’ proposal also violates Cognizant’s Seventh Amendment right to have
         12      a jury decide the entire case. The Seventh Amendment, which guarantees the right to a
         13      jury trial, also preserves Cognizant’s right to have its defenses resolved by the same jury
         14      that decided liability. See Feltner v. Columbia Pictures Television, Inc., 523 U.S. 340,
         15      355 (1998); Tull v. United States, 481 U.S. 412, 422–23 (1987).
         16            Finally, every case litigated under Title VII requires individualized
         17      determinations before punitive damages can be awarded, because only an “aggrieved
         18      individual” can collect punitive damages. 42 U.S.C. § 1981a(b)(1). And Title VII
         19      unequivocally precludes any monetary award to nonvictims. See id. § 2000e-5(g)(2);
         20      Firefighters Loc. Union No. 1784 v. Stotts, 467 U.S. 561, 580 (1984). Thus, these issues
         21      too would have to be individually litigated for every class member.
         22            Plaintiffs’ proposal must be rejected.
         23      V. CONCLUSION
         24            Plaintiffs’ Motion for Class Certification should be denied.
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